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     PETER MENZEL
9
                                UNITED STATES DISTRICT COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
     FREE SPEECH SYSTEMS, LLC, a Texas                 Case No. 19-cv-00711-WHO
12   limited liability company,
13                                                     JOINT CASE MANAGEMENT
     Plaintiff,                                        STATEMENT
14
     v.                                                Date: June 12, 2019
15                                                     Time: 2:00 P.M.
     PETER MENZEL, an individual,                      Courtroom: 2
16
                                                       Judge: Honorable William H. Orrick
     Defendant.
17
                                                       Complaint filed: February 8, 2019
18
     PETER MENZEL, an individual,                      Trial Date: None Set
19
     Counterclaimant,
20

21   v.

22   FREE SPEECH SYSTEMS, LLC, individually
     and doing business as “InfoWars.com a Texas
23   limited liability company; and DOES 1-10,
24
     Counterdefendants.
25

26

27

28                                                 1
                                 JOINT CASE MANAGEMENT STATEMENT
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1              Pursuant to Civil Local Rule 16-9 and the Court’s April 8, 2019 Case Management

2    Conference Order (Dkt. No. 19), the parties submit this Joint Case Management Statement.

3

4       1. Jurisdiction and Service: This court has federal subject matter jurisdiction over the claims

5    concerning copyright infringement and violation of the Digital Millennium Copyright Act. No issues

6    exist regarding the Court’s personal jurisdiction over the parties or venue. All parties have been

7    served.

8

9       2. Facts: Plaintiff-Counterdefendant Free Speech Systems, LLC, individually and doing

10   business as “InfoWars.com” (collectively “FSS”), a new media company, posted an article on its

11   website featuring seven (7) photographs which Defendant-Counterclaimant Peter Menzel

12   (“Menzel”), a professional photographer, claims he owns, registered with the United States Copyright

13   Office, and did not authorize FSS to exploit. Menzel further alleges that FSS, or its source for the

14   allegedly infringed photographs, removed certain of Menzel’s copyright management information

15   from those photographs and that FSS distributed those photographs knowing that such information

16   had been removed. FSS disputes Menzel’s claims, and filed a declaratory relief action seeking a

17   judgment stating that its accused actions did not violate any aspect of the Copyright Act.

18

19      3. Legal Issues: This case concerns whether FSS’s accused actions constitute copyright

20   infringement under the Copyright Act (17 U.S.C. §101 et seq.) or violation of §1202 of the Digital

21   Millennium Copyright Act (“DMCA”). Legal issues concerning fair use, direct and secondary

22   liability for copyright infringement, the statute of limitations, and damages are all present.

23

24      4. Motions: FSS filed a motion to dismiss Menzel’s amended counterclaims, and to strike several

25   of Menzel’s affirmative defenses. Both motions have been briefed, are currently pending, and are

26   slated for oral argument on June 12, 2019. Provided that this case proceeds beyond the pleadings

27   stage, Menzel anticipates filing a motion for summary adjudication as to copyright infringement and

28                                                      2
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1    violation of §1202 of the DMCA. FSS anticipates filing a motion for summary adjudication as to

2    these claims as well.

3

4       5. Amendment of Pleadings: If the Court grants any part of FSS’s motion to dismiss with leave

5    to amend, Menzel will amend his counterclaims. The parties propose August 9, 2019 as the deadline

6    to amend pleadings.

7

8       6. Evidence Preservation: The parties have reviewed the Guidelines Relating to the Discovery
9    of Electronically Stored Information (“ESI Guidelines”), and have met and conferred pursuant to Fed.

10   R. Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence relevant to

11   the issues reasonably evident in this action, referencing ESI Guidelines 2.01 and 2.02 and Checklist

12   for ESI Meet and Confer.

13

14      7. Disclosures: The parties will exchange Fed. R. Civ. P. 26 initial disclosures on or before June

15   10, 2019.

16

17      8. Discovery: The parties anticipate using all discovery allowed under the Federal Rules,

18   including depositions, requests for documents, interrogatories and requests for admissions, and

19   entering into an appropriate stipulated protective order. The parties further anticipate an initial round

20   of written discovery comprised of Interrogatories, Requests for Production of documents, and

21   Requests for Admission to be propounded by the end of August 2019. Follow-up written discovery

22   and conferring over and otherwise resolving any discovery disputes should be completed by the end

23   of January 2020. The parties also anticipate that each party, as well as third parties, will need to be

24   deposed, and that said depositions shall take place after an initial round of written discovery. The

25   parties anticipate these depositions being taken between November through December 2019. See the

26   below proposed schedule of dates for all proposed discovery deadlines.

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1

2       9. Class Actions: This matter is not a class action suit.

3

4       10. Related Cases: There are no related cases pending before this or any other court or

5    administrative body.

6

7       11. Relief: FSS seeks declaratory relief absolving it of any potential liability for the claims of

8    copyright infringement and DMCA violations that Menzel has asserted. FSS also seeks to recover its
9    costs and fees incurred in this action. Menzel seeks either actual damages in the form of FSS’s
10   disgorgeable profits and Menzel’s lost profits due to FSS’s copyright infringement, or statutory
11   damages of up to $150,000.00 per allegedly infringed work. Menzel also seeks statutory damages of
12   up to $25,000.00 for every FSS violation of the DMCA concerning its exploitation of the allegedly
13   infringed photographs. Menzel also seeks to recover his costs and fees incurred in this action.
14

15      12. Settlement and ADR: The parties have discussed potential resolution of this matter both

16   before and after this action was filed. While some progress has been made, a considerable gap remains

17   between the parties’ respective settlement positions. The parties have agreed to proceed with an Early

18   Neutral Evaluation under the Local Rules but have not yet been able to determine a mutually

19   agreeable date on which that session might take place.

20

21      13. Consent to Magistrate Judge for All Purposes: The parties do not consent to have a magistrate

22   judge conduct all further proceedings including trial and entry of judgment.

23

24      14. Other References: The parties do not believe the case is suitable for reference to binding

25   arbitration, a special master, or the Judicial Panel on Multidistrict Litigation.

26

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1       15. Narrowing of Issues: The parties have not yet agreed to mechanisms for the narrowing of

2    issues but intend to discuss doing so as the case progresses, potentially with the assistance of the

3    mediator in the event the entire case does not settle at that time.

4

5       16. Expedited Trial Procedure: The parties do not believe that this case is suitable for the

6    Expedited Trial Procedure of General Order No. 64 Attachment A.

7

8       17.     Scheduling: The parties propose the following dates.
9
                 Event                                          Joint Proposal
10

11
       Early Neutral Evaluation                              September 30, 2019
12            Deadline

13      Close of fact discovery                               February 21, 2020

14      Opening expert reports                                February 28, 2020
15      Rebuttal expert reports                                March 20, 2020
16
       Close of expert discovery                                April 10, 2020
17
          Summary judgment                                       May 6, 2020
18          opening briefs

19        Summary judgment                                      May 27, 2020
             oppositions
20
      Summary judgment replies                                  June 17, 2020
21

22        Summary judgment                             July 8, 2020, or per Court Order
              hearing
23
          Pretrial Conference                                 September 9, 2020
24
                  Trial                                      September 29, 2020
25

26      18.     Trial: The case will be tried to a jury. The expected length is 3-4 days.

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28                                                       5
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1        19. Disclosure of Non-party Interested Entities or Persons: Each party has filed a “Certification

2    of Interested Entities or Persons” as required by Civil Local Rule 3-15, and restates here the content

3    of the certification.

4        20. Professional Conduct: All attorneys of record for the parties have reviewed the Guidelines

5    for Professional Conduct for the Northern District of California.

6

7    Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that all signatories have

8    concurred in its filing.
9

10                                                  Respectfully submitted,
11
     Dated: June 4, 2019                     By:    /s/ Alex J. Shepard
12                                                   Marc J. Randazza (CA SBN 269535)
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                                                     Attorney for Plaintiff
17                                                   Free Speech Systems LLC

18   Dated: June 4, 2019                     By:    /s/ Justin M. Gomes
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23
                                                    Peter Menzel
24

25           Pursuant to Civil L.R. 5-1(i)(3), the filer attests that all other signatories listed, and on

26   whose behalf this filing is submitted, concur in the filing’s content and have authorized the filing.

27

28                                                        6
                                     JOINT CASE MANAGEMENT STATEMENT
